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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 ELI LILLY AND COMPANY,

        Plaintiff,

        v.
                                                      Civil Action No. 24-3220 (DLF)
 ROBERT F. KENNEDY, JR., Secretary of
 Health and Human Services et al., et al.,

                Defendants.


 BRISTOL MYERS SQUIBB COMPANY,

                Plaintiff,

        v.
                                                      Civil Action No. 24-3337 (DLF)
 ROBERT F. KENNEDY, JR, Secretary of
 Health and Human Services et al.,

                Defendants.


NOVARTIS PHARMACUTICALS CORP,

               Plaintiff,

       v.                                             Civil Action No. 25-0117 (DLF)
ROBERT F. KENNEDY, JR, Secretary of
Health and Human Services et al.,

               Defendants.


       DEFENDANTS’ CROSS MOTION FOR SUMMARY JUDGMENT AND
      OPPOSITION TO PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

       Pursuant to Rule 56, Defendants the Secretary of Health and Human Services and the

Administrator of the Health Resources and Services Administration respectfully move the Court
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for an order granting summary judgment in their favor and denying Plaintiffs’ Eli Lilly and

Company, Bristol Myers Squibb Company, and Novartis Pharmaceuticals Corporation motions for

summary judgment.1 In support of this motion, Defendants respectfully refer the Court to the

attached memorandum of points and authorities. A proposed order is attached hereto.

    Dated: March 17, 2025                    Respectfully submitted,

                                             EDWARD R. MARTIN, JR., D.C. Bar #481866
                                             United States Attorney

                                             BRIAN P. HUDAK
                                             Chief, Civil Division


                                             By:           /s/ John J. Bardo
                                                   JOHN J. BARDO, D.C. Bar #1655534
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       These cases have been joined for purposes of dispositive motions briefing. Min. Order,
Feb. 24, 2025.
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